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     Attorneys for Defendants
6    ONLINENIC, INC. and DOMAIN ID SHIELD SERVICE
     CO., LIMITED
7

8                                        UNITED STATES DISTRICT COURT
9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11   FACEBOOK, INC. and INSTAGRAM,                       Case No. 19-CV-07071-SVK
     LLC
12                                                       DECLARATION OF CARRIE YU
                         Plaintiffs,
13           v.
14
     ONLINENIC, INC. and DOMAIN ID
15   SHIELD SERVICE CO., LIMITED.

16                    Defendants.

17

18

19           I, Carrie Yu, declare as follows:
20           1.       I am an officer of OnlineNIC, Inc. and Domain ID Shield Service Co., Limited
21   (“Defendants”), and I am authorized to make this declaration. I have personal knowledge of the
22   facts set forth in this declaration, and if called as a witness I would testify to the facts contained in
23   this declaration.
24           2.       Defendants do not have the financial resources to continue to defend the instant
25   litigation, and accordingly no longer intend to mount a defense. Defendants do not intend to file
26   any oppositions to any pending filing.
27           3.       Subject to any requirements of ICANN, Defendants intend to cease business
28   operations on July 26, 2021.
                                                       - 1-
     Facebook, Inc. v. OnlineNIC, Inc.                                               Case No. 19-cv-7071-SVK
     Declaration of Carrie Yu
          Case 3:19-cv-07071-SI          Document 121-2        Filed 07/20/21     Page 2 of 2



1            4.       Defendants consent to the withdrawal of their counsel in this case.

2            I declare under penalty of perjury under the laws of the United States that the foregoing is

3    true and correct. Executed at Xiamen, China on July 19, 2021.

4                                                            /s/ Carrie Yu

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6

7                                               ATTESTATION

8           Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that all other
     signatories listed and on whose behalf this filing is made concur in the filing of this document and
9    have granted permission to use an electronic signature.
                                                                   /s/ Perry J. Narancic
10

11                                                  Perry J. Narancic, SBN 206820
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     Facebook, Inc. v. OnlineNIC, Inc.                                            Case No. 19-cv-7071-SVK
     Declaration of Carrie Yu
